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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

              Plaintiff,

  v.                                       Criminal Action No. 2:00CR7-14
                                                                  (STAMP)
  SHAUN KEVIN HARRIS,

              Defendant.


                        MEMORANDUM OPINION AND ORDER
                     AFFIRMING AND ADOPTING REPORT AND
                    RECOMMENDATION OF MAGISTRATE JUDGE

                                I.   Background

        The pro se1 defendant, Shaun Kevin Harris, was found guilty by

  a jury in the Northern District of West Virginia of five separate

  counts of a multi-defendant criminal indictment. Specifically, the

  defendant was found guilty of participating in a cocaine conspiracy

  in violation of 21 U.S.C. § 846, aiding and abetting distribution

  of crack cocaine on two separate occasions in violation of 21

  U.S.C. § 841(a)(1) and 18 U.S.C. § 2, distributing crack cocaine in

  violation of 21 U.S.C. § 841(a)(1), and for possessing crack

  cocaine with intent to distribute in violation of 21 U.S.C.

  § 841(a)(1).

        On January 30, 2002, the Court sentenced the defendant to 360

  months on each count to be served concurrently.             The Court also

  ordered the defendant to pay a $500.00 assessment, as well as a



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        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1341 (9th ed. 2009).
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  $5,000.00        fine,    to      begin    immediately       and       paid    during     the

  defendant’s        term      of     imprisonment.            If        not    paid     during

  incarceration, the remainder of the fine was to be paid by the end

  of the term of supervised release.

           On January 30, 2006, the defendant filed a motion to vacate or

  dismiss fine payment (Doc. No. 988).                   Thereafter, on September 25,

  2006, the defendant filed a second motion to vacate or dismiss fine

  payment (Doc. No. 1048) to which the government filed a response.

           The petition was referred to United States Magistrate Judge

  James E. Seibert for initial review and recommendation.                              After a

  preliminary review of the record, the magistrate judge ordered the

  government       to   file     a    second    response.           On    August    5,    2007,

  Magistrate       Judge     Seibert        issued   a   report      and       recommendation

  recommending that the defendant’s motions to vacate or dismiss fine

  payment be denied.             The report and recommendation did not advise

  the parties of the right to file objections or provide a time frame

  within which to do so.              Accordingly, this Court entered an order

  giving the parties an opportunity to file objections to the

  magistrate judge’s report and recommendation.                      Neither party filed

  objections.        For the reasons set forth below, this Court affirms

  and adopts the magistrate judge’s report and recommendation in its

  entirety.

                                     II.    Applicable Law

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo    review     of    any     portion     of   the    magistrate        judge’s



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  recommendation to which objection is timely made. However, failure

  to file objections to the magistrate judge’s proposed findings and

  recommendation       permits    the   district     court     to   review   the

  recommendation under the standards that the district court believes

  are appropriate and, under these circumstances, the parties’ right

  to de novo review is waived.          See Webb v. Califano, 468 F. Supp.

  825 (E.D. Cal. 1979).      Accordingly, because the defendant did not

  file objections, this Court reviews the report and recommendation

  of the magistrate judge for clear error.

                                 III.   Discussion

        The defendant alleges that the sentencing court failed to set

  a specific payment plan or schedule, and that the Bureau of Prisons

  (“BOP”) is prohibited from setting a payment plan or schedule.

  Specifically, the defendant contends that he cannot be compelled to

  participate     in   the   Inmate     Financial    Responsibility     Program

  (“IFRP”), and requests that this Court order the BOP to remove him

  from the IFRP program.

        The magistrate judge recommended that these motions be denied

  because they lack merit.        This Court finds no clear error in the

  magistrate judge’s report and recommendation.              A sentencing court

  may not delegate its authority to set the amount and timing of

  criminal fine payments to the BOP without retaining ultimate

  authority over such decisions.         Miller v. United States, 77 F.3d

  71, 78 (4th Cir. 1996).         Where the sentencing court has ordered

  immediate payment of a criminal fine, the BOP has discretion to



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  place an inmate in the IFRP.              See Coleman v. Brooks, 133 Fed. App’x

  51, 53 (4th Cir. 2005) (unpublished) (citing Matheny v. Morrison,

  307 F.3d 709, 712 (8th Cir. 2002)).

         In this case, the sentencing court set the amount and timing

  of the defendant’s criminal fines by ordering that the $500.00

  assessment      and   fine     be    paid    during     the   defendant’s   term   of

  imprisonment.         See 18 U.S.C. § 3572(d)(2) (providing that if a

  judgment imposes criminal fines, “the length of time over which

  scheduled payments will be made shall be set by the court”).

  Because the sentencing court did not establish monthly installments

  or a date certain for payment of the fine, the monetary penalty was

  due immediately.         See 18 U.S.C. § 3572(d)(1).                 The immediate

  payment requirement is generally interpreted to require payment to

  the extent that the defendant can make it in good faith, beginning

  immediately.      Coleman, 133 Fed. App’x at 53.

         The IFRP offers prisoners an avenue for making payments toward

  a monetary penalty imposed by the court.                       Although the Court

  permitted the defendant in this case to make payments through the

  IFRP, the Court did not require the defendant to pay his fines in

  that   matter.         Thus,    the       Court   did   not   improperly    delegate

  responsibility to the BOP, and the defendant’s participation in the

  IFRP does not violate the holding in Miller.

                                      IV.    Conclusion

         For the above-stated reasons, this Court hereby AFFIRMS and

  ADOPTS    the     magistrate         judge’s      report      and   recommendation.



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  Accordingly, the defendant’s motions to vacate or dismiss fine

  payment are both DENIED.

        Moreover, this Court finds that the defendant was properly

  advised by the magistrate judge that failure to timely object to

  the report and recommendation in this action will result in a

  waiver of appellate rights.          Thus, the defendant’s failure to

  object    to    the   magistrate     judge’s    proposed     findings    and

  recommendation bars the defendant from appealing the judgment of

  this Court. See 18 U.S.C. § 636(b)(1); Wright v. Collins, 766 F.2d

  841, 845 (4th Cir. 1985).

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this memorandum

  opinion and order to the pro se defendant by certified mail and to

  counsel of record herein.

        DATED:      September 18, 2009



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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